            Case 25-80078-swe11                      Doc 1     Filed 03/31/25 Entered 03/31/25 17:44:33                                Desc Main
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Fill in this information to identify your case:


United States Bankruptcy Court for the:

NORTHERN DISTRICT OF TEXAS

Case number (if known)                                                        Chapter       11
                                                                                                                                Check if this an
                                                                                                                                amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Hooters of America, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                       Mailing address, if different from principal place of
                                                                                                    business

                                  1815 The Exchange SE
                                  Atlanta, GA 30339
                                  Number, Street, City, State & ZIP Code                            P.O. Box, Number, Street, City, State & ZIP Code

                                  Cobb                                                              Location of principal assets, if different from principal
                                  County                                                            place of business

                                                                                                    Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.hooters.com/


6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          Partnership (excluding LLP)
                                          Other. Specify:




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Debtor    Hooters of America, LLC                                                                      Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                               7225

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                                                 Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                 proceed under Subchapter V of Chapter 11.
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                      Debtor     SEE ATTACHED RIDER                                              Relationship
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Debtor   Hooters of America, LLC                                                                  Case number (if known)
         Name



                                             District                                 When                             Case number, if known


11. Why is the case filed in    Check all that apply:
    this district?
                                        Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                        preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                        A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or         No
    have possession of any
    real property or personal      Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                    Why does the property need immediate attention? (Check all that apply.)
                                               It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                              What is the hazard?
                                               It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                              livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                               Other
                                            Where is the property?
                                                                             Number, Street, City, State & ZIP Code
                                            Is the property insured?
                                               No
                                               Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of               Check one:
    available funds
                                            Funds will be available for distribution to unsecured creditors.
                                            After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of            1-49                                              1,000-5,000                                25,001-50,000
    creditors                      50-99                                             5001-10,000                                50,001-100,000
                                   100-199                                           10,001-25,000                              More than100,000
                                   200-999

15. Estimated Assets               $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                   $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                   $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                   $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities          $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                   $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                   $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                   $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion




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Debtor                                                                                             Case number ( if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on       03/31/2025
                                                  MM / DD / YYYY


                             X                                                                            Keith Maib
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Restructuring Officer




18. Signature of attorney    X /s/ Holland N. O'Neil                                                       Date    03/31/2025
                                 Signature of attorney for debtor                                                  MM / DD / YYYY

                                 Holland N. O'Neil
                                 Printed name

                                 FOLEY & LARDNER LLP
                                 Firm name

                                 2021 McKinney Avenue, Suite 1600
                                 Dallas, TX 75201
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     214-999-3000                  Email address      honeil@foley.com

                                 TX 14864700
                                 Bar number and State




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                                              Rider 1
           Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

         On the date hereof, each of the entities below (collectively, the “Debtors”) filed a Petition
in the United States Bankruptcy Court for the Northern District of Texas for relief under chapter
11 of title 11 of the United States Code. The Debtors have moved for joint administration of these
cases under the case number assigned to the chapter 11 case of Hooters of America, LLC.

            Hooters of America, LLC
            Owl Holdings, LLC
            Hawk Parent, LLC
            HOA Holdings, LLC
            Night Owl, LLC
            Owl Wings, LLC
            Owl Restaurant Holdings, LLC
            HOA Restaurant Group, LLC
            Derby Wings Holdings, LLC
            Derby Wings, LLC
            HOA Gift Cards, LLC
            Elf Owl Investments, LLC
            TW Lonestar Wings, LLC
            Alamo Wings, LLC
            HOA Holdco, LLC
            HOA Systems, LLC
            HOA Funding, LLC
            HOA Restaurant Holder, LLC
            HOOTS Restaurant Holder, LLC
            HOA IP GP, LLC
            HOOTS Franchising, LLC
            HOA Franchising, LLC
            HOA Maryland Restaurant Holder, LLC
            HOA Kansas Restaurant Holder, LLC
            TW Restaurant Holder, LLC
            DW Restaurant Holder, LLC
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         HI Limited Partnership
         HOA Towson, LLC
         HOA Waldorf, LLC
         HOA Laurel, LLC
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                       UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION


 In re:
                                                      Chapter 11
          Hooters of America, LLC,
                                                      Case No. 25-[_______] ([___])
                                Debtor.


                       CORPORATE OWNERSHIP STATEMENT

       Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or
more of any class of the debtor’s equity interest:

                  Shareholder                     Approximate Percentage of Shares Held
 HOA Restaurant Group, LLC                                           100%
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                       UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION


 In re:
                                                      Chapter 11
          Hooters of America, LLC,
                                                      Case No. 25-[_______] ([___])
                              Debtor.


                              LIST OF EQUITY HOLDERS

         The following is a list of debtor Hooters of America, LLC’s significant equity holders.
This list has been prepared in accordance with Federal Rule of Bankruptcy Procedure 1007(a)(3)
for filing in this chapter 11 case.

                                                                             Percentage of
             Equity Holder                 Address of Equity Holder
                                                                             Equity Held
                                        1815 The Exchange SE
   HOA Restaurant Group, LLC                                                     100%
                                        Atlanta, GA 30339
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 Fill in this information to identify the case:
 Debtor name Hooters of America, LLC
                                                                                                                                                Check if this is an
 United States Bankruptcy Court for the:           NORTHERN DISTRICT OF TEXAS
 Case number (if known):                                                                                                                        amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 30 largest unsecured claims.

                                                                                                                   Amount of claim
                                                                         Nature of claim                           If the claim is fully unsecured, fill in only unsecured claim
                                                                       (for example, trade     Indicate if claim   amount. If claim is partially secured, fill in total claim amount
                                        Name, telephone number
  Name of creditor and complete                                         debts, bank loans,      is contingent,     and deduction for value of collateral or setoff to calculate
                                         and email address of
 mailing address, including zip code                                  professional services,   unliquidated, or    unsecured claim.
                                           creditor contact
                                                                         and government            disputed        Total claim, if        Deduction for            Unsecured claim
                                                                            contracts)                             partially secured value of collateral
                                                                                                                                          or setoff
   1    CHENEY BROTHERS INC            alisonw@cheneybrothers.co   Food/Drink Vendor                                                                                     $1,860,632.00
        1 CHENEY WAY                   m;
        RIVERA BEACH FL 33404          ARACHPayments@cheneybr
                                       others.com
   2    BEN E KEITH COMPANY            nationalaccountscredit@bene Food/Drink Vendor                                                                                  $1,816,719.00
        PO BOX 901001                  keith.com;
        FORT WORTH TX 76101            CORP-MBX-ACHReceipts@
                                       benekeith.com
   3    BARSTOOL SPORTS INC            LOUIS@BARSTOOLSPORT Marketing                                                                                                  $1,238,000.00
        333 7TH AVENUE                 S.COM;
        2ND FLOOR                      AR@barstoolsports.com
        NEW YORK NY 10001
   4    HMS HOLDINGS LIMITED           mlambert@hmsracing.com        Marketing                                                                                          $900,000.00
        PARTNERSHIP
        4400 PAPA JOE HENDRICK
        BLVD
        CHARLOTTE NC 28262
   5    ICON INTERNATIONAL INC         YTURBAY@ICON-INTL.COM Marketing                                                                                                  $805,891.00
        107 ELM STREET
        STAMFORD CT 6902
   6    THE DISTRIBUTION GROUP         cashRA@vaneerden.com          Food/Drink Vendor                                                                                  $773,302.00
        INC
        650 IONIA AVE SW GRAND
        RAPIDS MI 49503
   7    LIBERTY MUTUAL                 Sheila.gagne@libertymutual.   Insurance                                                                                          $744,604.00
        INSURANCE GROUP                com
        PO BOX 0569 CAROL              JazPariece.Barry@LibertyMu
        STREAM IL 60132-0569           tual.com
   8    REGIONS FACILITY               Accounting@rfsrenovates.co    Repairs & Maintenance                                                                              $726,152.00
        SERVICES INC                   m
        2314 CIRCUIT WAY
        BROOKSVILLE FL 34604
   9    CAESARS ENTERTAINMENT                                        Marketing                                                                                          $663,966.00
        PO BOX 96118
        LAS VEGAS NV 89193T
  10    FIREHOUSE LTD                  acctsreceivable@firehouse.a   Marketing                                                                                          $541,998.00
        14860 LANDMARK BLVD            gency
        DALLAS TX 75254
  11    MCB HP BALTIMORE LLC           hhaseltine@mcbrealestate.co Occupancy Cost                                                                                       $467,794.00
        2002 CLIPPER PARK ROAD         m
        SUITE 105
        BALTIMORE MD 21211
  12    PAR TECH INC                   Remittance@partech.com        Repairs & Maintenance                                                                              $406,863.00
        8383 SENECA TURNPIKE
        NEW HARTFORD NY 13413




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 Debtor     Hooters of America, LLC                                                                         Case number (if known)
            Name

                                                                                                                       Amount of claim
                                                                             Nature of claim                           If the claim is fully unsecured, fill in only unsecured claim
                                                                           (for example, trade     Indicate if claim   amount. If claim is partially secured, fill in total claim amount
                                            Name, telephone number
  Name of creditor and complete                                             debts, bank loans,      is contingent,     and deduction for value of collateral or setoff to calculate
                                             and email address of
 mailing address, including zip code                                      professional services,   unliquidated, or    unsecured claim.
                                               creditor contact
                                                                             and government            disputed        Total claim, if        Deduction for            Unsecured claim
                                                                                contracts)                             partially secured value of collateral
                                                                                                                                              or setoff
  13      NEW RIVERCENTER MALL II          accounting@shoprivercenter.   Occupancy Cost                                                                                        $403,153.00
          LP                               com
          PO BOX 825620
          PHILADELPHIA PA
          19182-5620
  14      TMP WORLDWIDE                    cash@radancy.com              Software                                                                                           $328,858.00
          ADVERTISING &
          COMMUNICATIONS LLC
          PO BOX 2310
          HICKSVILLE NY 11802
  15      SREP CITYPLACEFWTX LLC           billing@spirerealty.com       Occupancy Cost                                                                                     $275,578.00
          5210 MCKINNEY AVE
          DALLAS TX 75205-3357
  16      FIRST INSURANCE FUNDING          60062 junel@rpamerica.com     Insurance                                                                                          $248,097.00
          CORP
          450 SKOKIE BLVD - STE 1000
          NORTHBROOK IL
  17      TRM 14 LLC                       trm1investments@gmail.com     Occupancy Cost                                                                                     $229,765.00
          301 71st Street, Ste 620 Miami
          Beach FL 33141
  18      VINSUE CORP                      cvitanza@sdcaustin.com;       Occupancy Cost                                                                                     $206,556.00
          5 GLENMARE MEWS NYACK            vinsuecorp@aol.com
          NY 10960
  19      APOLLO PROPERTY                  scott@ashortinc.com           Occupancy Cost                                                                                     $205,333.00
          MANAGEMENT LLC                   vicki@ashortinc.com
          1521 N GLENVILLE DR
          RICHARDSON TX 75085
  20      WPB CONCOURSE PLAZA              Jbicknell@Reichelrealty.com   Occupancy Cost                                                                                     $201,165.00
          LC
          8845 N MILLITARY TRAIL,
          SUITE 100
          PALM BEACH GARDENS FL
          33410
  21      ARTHUR J GALLAGHER               GGB.US.Receivables@ajg.c      Insurance                                                                                          $197,500.00
          RISK MANAGEMENT                  om
          SERVICES INC
          PO BOX 532143
          ATLANTA GA 30353
  22      HOUSER HOLDINGS LLC              teresathurman@aol.com         Occupancy Cost                                                                                     $194,333.00
          2764 N GREEN VALLEY
          HENDERSON NV 89014
  23      ARISTOTLE INVESTMENTS            mat@ib-germany.com            Occupancy Cost                                                                                     $192,500.00
          INC
          C/O KAUFMAN, ROSSIN &
          CO
          ATT: S DEMAR
          2699 S.
          MIAMI FL 33133
  24      THE ULTIMATE SOFTWARE            mayra.gonzalez@ukg.com        Payroll Processor                                                                                  $192,241.00
          GROUP INC-UKG
          PO BOX 930953
          ATLANTA, GA 31193-
          0953
  25      TALLEY CULEBRA 2017 LLC          elaina@investarinc.com        Occupancy Cost                                                                                     $189,875.00
          9993 IH 10 WEST
          SUITE 102
          SAN ANTONIO, TX 78230
  26      NDF LLC                          ndfllc@outlook.com            Occupancy Cost                                                                                     $186,340.00
          2799 E Tropicana Ave
          Suite H
          Las Vegas, NV 89121

  27      MGBL PROPERTIES LLC              antonyo296@aol.com            Occupancy Cost                                                                                     $183,333.00
          3058 Wentworth Way
          Tarpon Springs, FL 34688




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 Debtor     Hooters of America, LLC                                                                     Case number (if known)
            Name

                                                                                                                   Amount of claim
                                                                         Nature of claim                           If the claim is fully unsecured, fill in only unsecured claim
                                                                       (for example, trade     Indicate if claim   amount. If claim is partially secured, fill in total claim amount
                                        Name, telephone number
  Name of creditor and complete                                         debts, bank loans,      is contingent,     and deduction for value of collateral or setoff to calculate
                                         and email address of
 mailing address, including zip code                                  professional services,   unliquidated, or    unsecured claim.
                                           creditor contact
                                                                         and government            disputed        Total claim, if        Deduction for            Unsecured claim
                                                                            contracts)                             partially secured value of collateral
                                                                                                                                          or setoff
  28      MILLENNIUM PROPERTIES        SUSAN.FARBENBLOOM@S          Occupancy Cost                                                                                         $180,833.00
          LLC                          BCGLOBAL.NET
          20929 VENTURA BLVD,
          STE 47-350
          WOODLAND HILLS, CA
          91364
  29      DAVIS BROS LLC                                            Occupancy Cost                                                                                      $180,090.00
          1500 MCGOWEN
          SUITE 200
          HOUSTON TX 77004
  30      NORLE INVESTMENTS INC        kim@norle.net                Occupancy Cost                                                                                      $177,189.00
          238 S MERIDIAN STREET,
          SUITE 501
          INDIANAPOLIS, IN 46225




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Fill in this information to identify the case:

Debtor name         Owl Holdings, LLC

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF TEXAS

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration     Corporate Ownership Statement; List of Equity Holders

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on             03/31/2025                X
                                                             Signature of individual signing on behalf of debtor

                                                             Keith Maib
                                                             Printed name

                                                             Chief Restructuring Officer
                                                             Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                    RESOLUTIONS OF THE
                                    AUTHORIZING BODIES

                                          March 30, 2025

         The undersigned, being (i) the authorized signatory of the entities listed on Schedule 1;
(ii) the board of managers of the entities listed on Schedule 2; and (iii) the general partner of the
entity listed on Schedule 3 (collectively (i) through (iii), the “Authorizing Bodies,” and each, an
“Authorizing Body”), and such in each case acting in accordance with the applicable governing
documents of the entities listed on Schedules 1, 2, and 3 (each a “Company,” and collectively, the
“Companies”) and applicable law, do hereby affirm that the following resolutions were duly
adopted at a meeting of such Authorizing Body on March 30, 2025 (each a “Meeting”), and are to
be treated for all purposes as actions taken at a meeting of such Authorizing Body:

       WHEREAS, a quorum of each Authorizing Body participated throughout the Meeting;

        WHEREAS, the Authorizing Body of managers of Hawk Parent, LLC have previously
delegated to the strategic review committee of the board of managers of Hawk Parent, LLC the
authority to file voluntary bankruptcy or a similar insolvency proceeding (the
“Delegated Authority”) on behalf of Hawk Parent, LLC or on behalf of any subsidiary entity that
is owned or controlled by Hawk Parent, LLC, whether by virtue of Hawk Parent, LLC’s ownership
of the majority of voting shares of such subsidiary entity, or by virtue of their authority over the
board of directors of such subsidiary entity, or otherwise

        WHEREAS, the Authorizing Bodies have reviewed and considered presentations by the
management and the financial and legal advisors of the Companies regarding the liabilities and
liquidity situation of the Companies, the strategic alternatives available to them, and the effect of
the foregoing on the Companies’ businesses;

        WHEREAS, the Authorizing Bodies have had the opportunity to consult with the
management and the financial and legal advisors of the Companies and fully consider the strategic
alternatives available to the Companies;

        WHEREAS, the Authorizing Bodies have determined in an exercise of their business
judgment that it is advisable and in the best interest of the Companies to undertake the restructuring
transactions set forth in that certain restructuring support agreement (the “Restructuring Support
Agreement”) by and among the Companies and certain consenting creditors and shareholders,
substantially in the form that has been or will be presented to the Authorizing Bodies, and to take
such other actions with respect thereto;

        WHEREAS, after a marketing process and negotiations with their stakeholders, the
Company has negotiated with Celtic Master Fund LP or certain of its affiliates (the “DIP Lenders”)
to provide a superpriority debtor in possession credit facility (the “DIP Credit Facility”) by and
among, Hawk Parent and Hooters of America, LLC (“HOA”), as borrowers (the “DIP Borrowers”),
the DIP Lenders, and U.S. Bank Trust Company, National Association, as collateral agent and
calculation agent (the “DIP Agent”) (with such changes, additions, deletions, amendments, or
other modifications thereto as the Authorized Signatory (as defined below) may in its sole and
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absolute discretion approve (together with all exhibits, schedules, and annexes thereto, the
“DIP Credit Agreement”)) to fund the Company’s operations in the ordinary course, fund the
administration of the Chapter 11 Cases (as defined herein), and pay the claims of certain vendors,
employees, and other stakeholders in the ordinary course of business during the Chapter 11 Cases;

       WHEREAS, the Authorizing Bodies have been advised of the material terms of the DIP
Credit Facility;

      WHEREAS, the Authorizing Bodies have reviewed and considered presentations by the
management and financial and legal advisors of the Companies regarding the DIP Credit Facility
and DIP Credit Agreement;

      WHEREAS, the obligation of the DIP Lenders to make the extensions of credit to the
Companies is subject to, among other things, the Companies entering into the DIP Credit
Agreement and satisfying certain conditions in the DIP Credit Agreement;

        WHEREAS, the Companies will obtain benefits from the DIP Credit Agreement and it is
advisable and in the best interest of the Companies to enter into the DIP Credit Agreement and the
other loan documents entered in connection therewith and to perform their obligations thereunder,
including granting liens, guarantees, and equity pledges;

       WHEREAS, the consummation of the Sale Transaction is subject to the Companies filing
a motion (the “Sale”) with the Bankruptcy Court, seeking, among other things, approval of an
auction process (the “Auction”) that will govern the marketing and sale of certain assets through
the bidding procedures to a bidder with the highest or otherwise best offer;

       WHEREAS, the Authorizing Bodies have had an opportunity to consult with the
Company’s financial and legal advisors and review the chapter 11 preparation materials provided
by the Company’s financial and legal advisors;

        WHEREAS, the Authorizing Bodies have determined that it is in the Company’s best
interest to seek relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy
Code”); and

       WHEREAS, the Authorizing Bodies hereby take the following actions and adopt the
following resolutions pursuant to the organizational documents of the Companies, as applicable,
and the laws of the state of Delaware, Georgia, or Texas, as applicable:

NOW, THEREFORE, BE IT,

Voluntary Petition for Relief Under Chapter 11 of the Bankruptcy Code

        RESOLVED, that in the judgment of the Authorizing Bodies, it is desirable and in the best
interest of the Companies (including a consideration of the Companies’ creditors and other parties
in interest) that the Companies shall be, and hereby are, authorized to file, or cause to be filed, a
voluntary petition for relief (the “Chapter 11 Cases”) under the provisions of chapter 11 of the
Bankruptcy Code in the United States Bankruptcy Court for the Northern District of Texas Dallas
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Division (the “Bankruptcy Court”) and any other petition for relief or recognition or other order
that may be desirable under applicable laws in the United States.

        RESOLVED, that the members of the Authorizing Bodies or any other duly appointed
officer of the Companies authorized by the Authorizing Bodies to act on behalf of the applicable
Company (each an “Authorized Signatory,” and collectively, the “Authorized Signatories”), acting
alone or with one or more other Authorized Signatories be, and they hereby are, authorized,
empowered and directed to (i) execute and file on behalf of the Company all petitions, affidavits,
declarations, first day motions, schedules, statements of financial affairs, lists and other motions,
applications, pleadings, papers, or documents; (ii) take and perform any and all action that they
deem necessary or proper to obtain such relief, including, without limitation, any action necessary
to maintain the ordinary course operations of the Companies’ businesses; (iii) appear as necessary
at all bankruptcy proceedings on behalf of the Companies; and (iv) pay all such expenses where
necessary or appropriate in order to carry out fully the intent and accomplish the purposes of the
resolutions adopted herein.

        RESOLVED, that the actions of any Authorized Signatory taken pursuant to the preceding
resolution, including the execution, acknowledgment, delivery, and verification of the petition and
all ancillary documents and all other agreements, certificates, instruments, guaranties, notices, and
other documents, shall be conclusive evidence of such Authorized Signatory’s approval and the
necessity or desirability thereof.

Restructuring Support Agreement

       RESOLVED, that the Companies shall be, and hereby are, authorized to enter into the
Restructuring Support Agreement, with such changes, additions, and modifications thereto as an
Authorized Signatory executing the same shall approve, such approval to be conclusively
evidenced by an Authorized Signatory’s execution and delivery thereof.

        RESOLVED, that the Authorized Signatories be, and hereby are, authorized and
empowered to enter into, on behalf of the Companies, the Restructuring Support Agreement, and
to take any and all actions necessary or advisable to advance the Companies’ rights and obligations
therein, including filing pleadings; and in connection therewith, the Authorized Signatory, with
power of delegation, is hereby authorized, empowered and directed to execute the Restructuring
Support Agreement on behalf of the Companies and to take all necessary actions in furtherance of
consummation of such agreement’s terms.

Retention of Professionals

        RESOLVED, that the Authorized Signatories be, and hereby are, authorized and directed
to employ the law firm of Ropes & Gray LLP as general bankruptcy counsel to represent and assist
the Companies in carrying out their duties under the Bankruptcy Code, and to take any and all
actions to advance the Companies’ rights and obligations, including filing any motions, objections,
replies, applications, or pleadings; and in connection therewith, the Authorized Signatories, with
power of delegation, is hereby authorized and directed to execute appropriate retention agreements,
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pay appropriate retainers, and to cause to be filed an appropriate application for authority to retain
the services of Ropes & Gray LLP.

        RESOLVED, that the Authorized Signatories be, and they hereby are, authorized and
directed to employ the law firm of Foley & Lardner LLP, as co-bankruptcy counsel, to represent
and assist the Companies in carrying out their duties under the Bankruptcy Code, and to take any
and all actions to advance the Companies’ rights and obligations, including filing any motions,
objections, replies, applications, or pleadings; and in connection therewith, the Authorized
Signatories, with power of delegation, is hereby authorized and directed to execute appropriate
retention agreements, pay appropriate retainers, and to cause to be filed an appropriate application
for authority to retain the services of Foley & Lardner LLP .

         RESOLVED, that the Authorized Signatories be, and hereby are, authorized and directed
to employ the firm of SOLIC Capital, LLC, as investment banker to the Company to represent and
assist the Companies in carrying out their duties under the Bankruptcy Code, and to take any and
all actions to advance the Companies’ rights and obligations; and in connection therewith, the
Authorized Signatories, with power of delegation, is hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
application for authority to employ or retain the services of SOLIC Capital, LLC.

         RESOLVED, that the Authorized Signatories be, and they hereby are, authorized and
directed to employ the firm of Accordion Partners, LLC, as financial advisor, to represent and
assist the Company in carrying out their duties under the Bankruptcy Code, and to take any and
all actions to advance the Company’s rights and obligations; and in connection therewith, the
Authorized Signatories, with power of delegation, is hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
application for authority to retain the services of Accordion Partners, LLC.

        RESOLVED, that the Authorized Signatories be, and they hereby are authorized and
directed to employ Kroll Restructuring Administration LLC, as notice, claims, solicitation and
balloting agent in connection with the Chapter 11 Cases; and in connection therewith, the
Authorized Signatories, with power of delegation, is hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers, if required, prior to and immediately
upon the filing of the Chapter 11 Cases, and to cause to be filed an appropriate application for
authority to retain the services of Kroll Restructuring Administration LLC.

        RESOLVED, that the Authorized Signatories be, and they hereby are, authorized and
directed to employ any other professionals to assist the Companies in carrying out their duties
under the Bankruptcy Code; and in connection therewith, the Authorized Signatories, with power
of delegation, is hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers and fees, and to cause to be filed an appropriate application for authority to
retain the services of any other professionals as necessary.

        RESOLVED, that the Authorized Signatories be, and they hereby are, with power of
delegation, authorized, empowered and directed to execute and file all petitions, schedules,
motions, lists, applications, pleadings, and other papers and, in connection therewith, to employ
and retain all assistance by legal counsel, accountants, financial advisors, investment bankers, and
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other professionals and to take and perform any and all further acts and deeds that the Authorized
Signatories deem necessary, proper, or desirable in connection with the Company’s Chapter 11
Cases, with a view to the successful prosecution of such case.

DIP Facility

       RESOLVED, the DIP Credit Agreement (including, without limitation, the borrowings
thereunder), the transactions contemplated therein, and the guaranties, liabilities, obligations, and
guarantees, liens, and equity pledges granted in connection therewith, be, and hereby are,
authorized, adopted and approved on such terms substantially consistent with those presented to
the Authorizing Bodies on or prior to the date hereof and as may be further approved, modified or
amended by any one or more of the Authorized Signatories, as may be reasonably necessary or
desirable for the continuing conduct of the affairs of the Companies.

        RESOLVED, that, in the judgment of the Authorizing Bodies, it is desirable and in the best
interest of the Company (including a consideration of their creditors and other parties in interest)
to finalize, execute, and deliver the DIP Credit Agreement, subject to appropriate modifications
and final negotiations, and the Companies’ performance of their obligations thereunder, including
granting liens, guarantees, and equity pledges.

        RESOLVED, that the Companies’ execution and delivery of, and the performance of their
obligations in connection with the DIP Credit Agreement, are hereby, in all respects, authorized
and approved; and further resolved, that the Authorized Signatories, acting alone or with one or
more Authorized Signatories, are hereby authorized, empowered, and directed to negotiate the
terms of and to execute, deliver, and perform under the DIP Credit Agreement and any and all
other documents, security agreements, guaranty agreements, certificates, instruments, agreements,
and intercreditor agreements, any such changes therein, additions, deletions, amendments, or other
modifications thereto required to consummate the transactions contemplated by the DIP Credit
Agreement in the name and on behalf of the Companies, in the form approved, with such changes
therein and modifications and amendments thereto as any of the Authorized Signatories may in its
sole and absolute discretion approve, which approval shall be conclusively evidenced by his or her
execution thereof. Such execution by any of the Authorized Signatories is hereby authorized to be
by facsimile, engraved or printed as deemed necessary and preferable.

       RESOLVED, that the Authorized Signatories, acting alone or with one or more Authorized
Signatories, be, and hereby are, authorized and directed to seek authorization to enter into the DIP
Credit Agreement and to seek approval of the use of cash collateral pursuant to a postpetition
financing order in interim and final form with such changes therein, additions, deletions,
amendments, or other modifications thereto as any Authorized Signatory may in its sole and
absolute discretion approve, and any Authorized Signatory be, and hereby are, authorized,
empowered, and directed to negotiate, execute, and deliver any and all agreements, instruments,
or documents, by or on behalf of the Companies, necessary to implement the postpetition financing,
including providing for adequate protection to the secured parties under that certain (i) Credit
Agreement dated September 27, 2024, entered into by, among others, Hawk Parent, LLC as
borrower, and Celtic Master Fund LP as initial lender (as amended, the “Prepetition Manager
Advance Credit Agreement”), and (ii) Credit Agreement dated March 9, 2022, entered into by,
among others, Hawk Parent, LLC as borrower, and XYQ Cayman Ltd. as initial lender (as
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amended, the “Prepetition Term Loan Credit Agreement”, together with Prepetition Manager
Advance Credit Agreement, the “Prepetition Credit Agreements”) in accordance with section 363
of the Bankruptcy Code, as well as any additional or further agreements for entry into the DIP
Credit Agreement and the use of cash collateral in connection with the Chapter 11 Cases, which
agreements may require adequate protection and liens to the DIP Lenders and the other agreement,
instrument, or document to be executed and delivered in connection therewith, by or on behalf of
the Company pursuant thereto or in connection therewith, all with such changes therein and
additions thereto as any Authorized Signatory approves, such approval to be conclusively
evidenced by the taking of such action or by the execution and delivery thereof.

        RESOLVED, that (i) the form, terms, and provisions of the DIP Credit Agreement, (ii) the
grant of (a) collateral under the DIP Credit Agreement and the other Financing Documents (as
defined below) and (b) pledges of equity, (iii) the guaranty of obligations by the Guarantors (as
defined in the DIP Credit Agreement) under the DIP Credit Agreement and the other Financing
Documents, from which the Company will derive value, be and hereby are, authorized, adopted,
and approved, and (iv) any Authorized Signatory of the Companies are hereby authorized,
empowered, and directed, in the name of and on behalf of the Companies, to take such actions and
negotiate or cause to be prepared and negotiated and to execute, deliver, perform, and cause the
performance of, the of the transactions contemplated by the DIP Credit Agreement, substantially
in the form provided to the Authorizing Bodies, and such other agreements, guarantees, security
agreements, certificates, instruments, or other papers or documents to which the Companies are or
will be parties or any order entered into in connection with the DIP Credit Agreement (collectively
with the DIP Credit Agreement, the “Financing Documents”), incur and pay or cause to be paid
all related fees and expenses, with such changes, additions and modifications thereto as an
Authorized Signatory executing the same shall approve.

       RESOLVED, that the Companies, as a debtor and debtor-in-possession under the
Bankruptcy Code be, and hereby is, authorized and directed to incur any and all obligations and to
undertake any and all related transactions on substantially the same terms as contemplated under
the Financing Documents (collectively, the “Financing Transactions”), including granting liens,
guarantees, and providing equity pledges to secure such obligations.

         RESOLVED, that the Authorized Signatories be, and hereby are, authorized and directed
to take such actions as in its discretion is determined to be necessary, desirable, or appropriate to
execute, deliver, and file: (i) the Financing Documents and such agreements, certificates,
instruments, guaranties, notices, and any and all other documents, including, without limitation,
any amendments, supplements, modifications, renewals, replacements, consolidations,
substitutions, and extensions of any Financing Documents, necessary, desirable, or appropriate to
facilitate the Financing Transactions; (ii) all schedules, and other motions, papers, or documents,
which shall in its sole judgment be necessary, proper, or advisable, which determination shall be
conclusively evidenced by his/her or their execution thereof; (iii) such other instruments,
certificates, notices, assignments, and documents as may be reasonably requested under the
Financing Documents; and (iv) such forms of officer’s certificates and compliance certificates as
may be required by the Financing Documents.

        RESOLVED, that the Authorized Signatories be, and hereby are, authorized and directed
to take all such further actions, including, without limitation, to pay or approve the payment of all
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fees and expenses payable in connection with the Financing Transactions and all fees and expenses
incurred by or on behalf of the Company in connection with the foregoing resolutions, in
accordance with the terms of the Financing Documents, which shall in their reasonable business
judgment be necessary, proper, or advisable to perform the Company’s obligations under or in
connection with the Financing Documents or any of the Financing Transactions and to fully carry
out the intent of the foregoing resolutions.

General

        RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
Authorized Signatories, the Authorized Signatories (and their designees and delegates) be, and
hereby are, authorized and empowered, in the name of and on behalf of the Company, to take or
cause to be taken any and all such other and further action, and to execute, acknowledge, deliver
and file any and all such agreements, certificates, instruments and other documents and to pay all
expenses, including but not limited to filing fees, in the case as in such Authorized Signatory’s
judgment, shall be necessary, advisable or desirable in order to fully carry out the intent and
accomplish the purposes of the resolutions adopted herein.

        RESOLVED, that the Authorizing Bodies received sufficient notice of the actions and
transactions relating to the matters contemplated by the foregoing resolutions, as may be required
by the organizational documents of the Company, as applicable, or hereby waive any right to has
received such notice.

        RESOLVED, that all acts, actions and transactions relating to the matters contemplated by
the foregoing resolutions done in the name of and on behalf of the Company are hereby in all
respects approved and ratified as the true acts and deeds of the Company with the same force and
effect as if the such act, transaction, agreement or certificate has been specifically authorized in
advance by resolution of the Authorizing Bodies.

       RESOLVED, that the Authorized Signatories (and their designees and delegates) be, and
hereby are, authorized and empowered to take all actions or to not take any action in the name of
the Company with respect to the transactions contemplated by these resolutions hereunder, as such
Authorized Signatory shall deem necessary or desirable in such Authorized Signatory’s reasonable
business judgment to effectuate the purposes of the transactions contemplated herein.
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                     IN WITNESS WHEREOF, the undersigned, being (i) the authorized signatory of the
            entities listed on Schedule 1; (ii) the board of managers of the entities listed on Schedule 2; and
            (iii) the general partner of the entity listed on Schedule 3, affirms these resolutions as of
            March 30, 2025.


                                                             Adam Paul, in his capacity as the authorized
                                                             signatory of entities listed on Schedule 1


                                                             HOA Holdco, LLC
                                                             solely with respect to resolutions under
                                                             “Voluntary Petition for Relief Under Chapter
                                                             11 of the Bankruptcy Code”


                                                             Salvatore Melilli


                                                             Kim Payne


                                                             Megan Hewes


                                                             Sean L. Emerick


                                                             HOA Systems, LLC
                                                             HOA Funding, LLC
                                                             solely with respect to resolutions under
                                                             “Voluntary Petition for Relief Under Chapter
                                                             11 of the Bankruptcy Code”



                                                             Kim Payne


                                                             Megan Hewes


                                                             Sean L. Emerick
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         IN WITNESS WHEREOF, the undersigned, being (i) the authorized signatory of the
entities listed on Schedule 1; (ii) the board of managers of the entities listed on Schedule 2; and
(iii) the general partner of the entity listed on Schedule 3, affirms these resolutions as of
March 30, 2025.


                                                Adam Paul, in his capacity as the authorized
                                                signatory of entities listed on Schedule 1


                                                HOA Holdco, LLC
                                                solely with respect to resolutions under
                                                “Voluntary Petition for Relief Under Chapter
                                                11 of the Bankruptcy Code”


                                                Salvatore Melilli


                                                Kim Payne


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                                                Sean L. Emerick


                                                HOA Systems, LLC
                                                HOA Funding, LLC
                                                solely with respect to resolutions under
                                                “Voluntary Petition for Relief Under Chapter
                                                11 of the Bankruptcy Code”



                                                Kim Payne


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                                                Sean L. Emerick
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                                                             HOA IP GP, LLC, on behalf of itself and as
                                                             general partner of HI Limited Partnership
                                                             HOA Franchising, LLC
                                                             HOA Restaurant Holder, LLC
                                                             solely with respect to resolutions under
                                                             “Voluntary Petition for Relief Under Chapter
                                                             11 of the Bankruptcy Code”



                                                             Kim Payne


                                                             Jennifer L. Cronin


                                                             Jennifer A. Schwartz


                                                             DW Restaurant Holder, LLC
                                                             TW Restaurant Holder, LLC
                                                             HOA Kansas Restaurant Holder, LLC
                                                             HOA Maryland Restaurant Holder, LLC
                                                             solely with respect to resolutions under
                                                             “Voluntary Petition for Relief Under Chapter
                                                             11 of the Bankruptcy Code”




                                                             Kim Payne


                                                             Steven P. Zimmer


                                                             Ricardo Beausoleil
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                                       HOA IP GP, LLC, on behalf of itself and as
                                       general partner of HI Limited Partnership
                                       HOA Franchising, LLC
                                       HOA Restaurant Holder, LLC
                                       solely with respect to resolutions under
                                       “Voluntary Petition for Relief Under Chapter
                                       11 of the Bankruptcy Code”



                                       Kim Payne


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                                       Jennifer A. Schwartz


                                       DW Restaurant Holder, LLC
                                       TW Restaurant Holder, LLC
                                       HOA Kansas Restaurant Holder, LLC
                                       HOA Maryland Restaurant Holder, LLC
                                       solely with respect to resolutions under
                                       “Voluntary Petition for Relief Under Chapter
                                       11 of the Bankruptcy Code”




                                       Kim Payne


                                       Steven P. Zimmer


                                       Ricardo Beausoleil
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                                                             HOA Towson, LLC
                                                             solely with respect to resolutions under
                                                             “Voluntary Petition for Relief Under Chapter
                                                             11 of the Bankruptcy Code”



                                                             Salvatore Melilli


                                                             Kim Payne


                                                             Sean L. Emerick


                                                             William R. Bleier



                                                             HOA Waldorf, LLC
                                                             HOA Laurel, LLC
                                                             solely with respect to resolutions under
                                                             “Voluntary Petition for Relief Under Chapter
                                                             11 of the Bankruptcy Code”



                                                             Kim Payne


                                                             Sean L. Emerick


                                                             William R. Bleier
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                                       HOA Towson, LLC
                                       solely with respect to resolutions under
                                       “Voluntary Petition for Relief Under Chapter
                                       11 of the Bankruptcy Code”



                                       Salvatore Melilli


                                       Kim Payne


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                                             L. Emerick


                                       William
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                                       HOA Waldorf, LLC
                                       HOA Laurel, LLC
                                       solely with respect to resolutions under
                                       “Voluntary Petition for Relief Under Chapter
                                       11 of the Bankruptcy Code”



                                       Kim Payne


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                                             L. Emerick


                                       William Bleier
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                                                             Hoots Restaurant Holder, LLC
                                                             Hoots Franchising, LLC
                                                             solely with respect to resolutions under
                                                             “Voluntary Petition for Relief Under Chapter
                                                             11 of the Bankruptcy Code”



                                                             Kim Payne


                                                             Jennifer L. Cronin


                                                             Jennifer A. Schwartz
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                                       Hoots Restaurant Holder, LLC
                                       Hoots Franchising, LLC
                                       solely with respect to resolutions under
                                       “Voluntary Petition for Relief Under Chapter
                                       11 of the Bankruptcy Code”



                                       Kim Payne


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                                       Jennifer A. Schwartz
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                                        Schedule 1

   1. Hawk Parent, LLC, a Delaware limited liability company

   2. HOA Holdings, LLC, a Delaware limited liability company

   3. Night Owl, LLC, a Delaware limited liability company

   4. Owl Wings, LLC, a Delaware limited liability company

   5. Owl Restaurant Holdings, LLC, a Delaware limited liability company

   6. HOA Restaurant Group, LLC, a Delaware limited liability company

   7. Hooters of America, LLC, a Delaware limited liability company

   8. HOA Gift Cards, LLC, a Florida limited liability company

   9. Owl Holdings, LLC, a Delaware limited liability company

   10. Elf Owl Investments, LLC, a Delaware limited liability company

   11. TW Lonestar Wings, LLC, a Delaware limited liability company

   12. Alamo Wings, LLC, a Delaware limited liability company

   13. Derby Wings Holdings, LLC, a Delaware limited liability company

   14. Derby Wings, LLC, a Delaware limited liability company

                                        Schedule 2

   1. HOA Holdco, LLC, a Delaware limited liability company

   2. HOA Systems, LLC, a Delaware limited liability company

   3. HOA Funding, LLC, a Delaware limited liability company

   4. HOOTS Franchising, LLC, a Delaware limited liability company

   5. HOA Franchising, LLC, a Delaware limited liability company

   6. HOA IP GP, LLC, a Delaware limited liability company

   7. HOA Restaurant Holder, LLC, a Delaware limited liability company

   8. HOA Maryland Restaurant Holder, LLC, a Delaware limited liability company

   9. HOA Kansas Restaurant Holder, LLC, a Kansas limited liability company
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   10. DW Restaurant Holder, LLC, a Delaware limited liability company

   11. TW Restaurant Holder, LLC, a Delaware limited liability company

   12. HOOTS Restaurant Holder, LLC, a Delaware limited liability company

   13. HOA Towson, LLC, a Delaware limited liability company

   14. HOA Laurel, LLC, a Delaware limited liability company

   15. HOA Waldorf, LLC, a Delaware limited liability company


                                        Schedule 3

   1. HI Limited Partnership, a Florida general partnership company
